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                       IN THE UM TED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA

                                     Case N o.11-cv-23373-K M M

 GEM A GARCIA,

        Plaintiff,

 VS.

 CM NIVAL C0RP.,

        Defendant.
                                                     /

         ORDER GM NTING IN PART DEFENDANT'S M O TIO N TO DISM ISS

        THISCAUSE camebeforetheCourtuponDefendant'sMotiontoDismiss(ECFNo.13).
 Plaintifffled aResponse(ECFNo.26)andDefendantfiledaReply(ECF No.29).TheM otion
 isnow ripe forreview . UPON CON SIDERATION ofthe M otion,the pertinentportionsofthe

 record,and being otherwisefully advised in thepremises,thisCourtentersthe following Order.
 L BACKGROUND l

        n isisapersonalinjuryactionthatarisesoutofinjmiesPlaintiffGemaGarciaallegedly
 sustainedwhileapassengeraboard theDestiny cruise liner. DefendantCam ivalCorporation isa

 corporation incop orated tmder the laws of Panam a with its ptincipal place of business in

 Florida,and istheownerandoperatoroftheDestiny.

        On Septem ber 17,2010,Garcia had a dfdisagreem ent''with a bartender in the casino

 located onbom.
              d the Destiny. As a result of this disagreement,Garcia alleges that she was

 approached by seven of Defendant's crew members. W hen several of the crew m embers

 tEgrabbed''her,Garciaallegesthatshehad apanic attack,which madeitdifficultforherto breath

 and caused herchestpains. Garcia furtheralleges thatthe crew m embers kicked and punched

 1Thefactshereinaretnken from PlaintiffsComplaint(ECF No.1).Allfactsareconstrued in a
 lightm ostfavorable to Plaintiff.
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 htr,threw herto the ground multiple times,handcuffed herin adshnrmfulm anner,''dragged her

 acrossthetloorwhile she washandcuffed,and then confined herto hercabin by placing a crew

 mem berim mediately outside ofhercabin door and preventing herfrom otherwise leaving her

 cabin untilthe following day. According to Garcia,crew m embers forDefendantdestroyed a

 cam eraGarcia'stravelcompanion had used to documentthe event.

 II.LEGAL STANDARD

        A motion to dismiss for failtlre to state a claim merely tests the sufficiency of the

 complaint;itdoesnotdecidethem eritsofthe cmse.M ilburn v.United States,734 F.2d 762,765

 (11+ Cir.1984). On amotion to dismiss,theCourtmustacceptthefactualallegationsastrue
 and construe the complaintin the lightm ostfavorable to the plaintiff.SEC v. ESM Grp..lnc.,

 835F.2d 270,272 (11th Cir.1988). EGTO surviveamotionto dismiss,acomplaintmustcontain
 sufscientfacmalmatter,accepted mstrue,to çsGtea claim forreliefthatisplausibleon itsface.'''

 Ashcroftv.lqbal,129 S.Ct.1937,1949 (2009)(quoting BellAtl.v.Twombly,550 U.S.544,
 570 (2007:. tç-fheplausibility standard isnotakin to a tprobabilityrequirement,'butasksfor
 morethan asheerpossibility thatadefendanthasacted unlawfully.''J#a ttButwhere the well
                                                                        .




 pleaded factsdo notperm itthe courtto infermort than the m ere possibility ofm isconduct, tht

 complainthas alleged- butithas not çshown'- çthat the pleader is entitled to relief.'''Id.at

 1950. A complaint must also contain enough facts to indicate the presence of the required

 elements.W atts v.Fla.Int'lUniv.,495 F.3d 1289,1302 (11th Cir.2007). However,tila)
 pleading thatoffers Ea formulaic recitation ofelem ents ofa cause ofaction willnotdo.'''Inbal,

 129S.Ct.at1949 (quotingTwomblv,550U.S.at555).çtlclonclusory allegations,unwarranted
 deductionsoffactorlegalconclusionsmasquerading asfadswillnotpreventdism issal.''Oxford

 AssetM gmt..Ltd.v.Jaharis,297F.3d 1182,1188(11thCir.2002).
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 111.ANALYSIS

        Garcia'sComplaintallegesNegligencetcotmtl);Assaulttcotmt11);Batterytcount111);
 False Imprisonment tcountIV);Negligentlnfliction of EmotionalDistress tcountV);and
 lntentional lnfliction of Emotional Distress (Count VI). Defendant only challenges the
 sufficiency ofCotmts 1,IV ,and VI. This Courttakes up an analysisofeach CountDefendant

 challengesin tm'
                n.

 & Negligence
       CountIofGarcia'sComplaintepitom izesaform ofççshotgun''pleading. See Ebrahim iv.

 Citv ofHuntsvilleBd.ofEduc.,114 F.3d 162,164 (11th Cir.1997). GarciabeginsCotmtIby
 alleging thatDefendantowed a duty to Garcia to provide her with tçreasonable care underthe

 circllmstances-'' Compl.,at4 (ECFNo.1). G arciathen proceedsto allege atleasttwenty-one
 waysin which Defendantbreached thisduty.2

 Though confusingly drafted,ColmtIofGarcia'sComplaintallegesDefendantwasnegligentfor

 essentially two reasons:(1) Defendant committed intentionaltorts against Garcia,3 anjj(p
Defendantfailed to preventintentionaltortsagainstGarcia.

       Defendantarguesthatintentionaltorts are not cognizable under a negligence theory of

liability. Florida courtsrecognize battet'y, assault,and false im prisonmentas intentionaltorts.

 See Herzfeld v.Herzfeld,781So.2d 1070,1071 (Fla.2001)(refening to assault,battery,and
2M any Ofthebreachesallegedby Garcia areunnecessarily repetitive. Forexnmple:
       Garcia was injured due to the faultand/ornegligence ofDefendant,and/orits
       agents,servants,and/oremployeesasfollows ...b.Failureto preventthe assault
       and battery ofGarcia ...c.Failureto protectpassengers, including Garcia,from
       assaults and/orbatteries ...d.Faillzre to provide adequate security aboard the
       Camival Destiny as to prevent assaults,batteries and injury to passengers,
      including Garcia ...m .Failure to preventthe use ofexcessive force on Garcia
      . . . n.Fai
                lureto preventthe assaultand/orbattery on Garcia
Compl.,at4-5.
3Such aswhen Garcia alleges Defendantwas negligentdue to tçgulse of excessive force on
Garcia;and/or ...Assaultand/orbattery on Garcia;and/or. . . False imprisonm entofGarcia.''
Com pl.,at5.
                                          3
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 falseimprisonmentasStintentionaltorts'l. W hileGarciaiscorrecttoassertthatthepresenceof
 intentionaltortious activity may constitute evidence ofnegligence in selectcircum stances, itis

 improperto state a claim fornegligence prem ised solely on the defendant'salleged comm ission

 ofan intentionaltort. Asthe Courtin Ciw ofM inmiv. Sanders,72So.2d46,48 (F1a.3d Dist.

 Ct.App.1996)noted,çG(I)tis notpossible to have a cause ofaction for tnegligent'use of
 excessive force becausethere isno such thing asthe tnegligent'com mission ofan çintentional'

 IIIIIt*SS

             M oreover, because the Defendant's employees are alleged to have com mitted the

 intentionaltortsatissue,asa com mon-carrier,Defendantisstrictly liable. SeeDoe v.Celebrhv

 Cruises.Inc.,394F.3d 891,915-16(11th Cir.2004)(çtFloridatort1aw imposesstrictliabilityon
 cruiselinesforcrew memberassaultsontheirpassengers(and)thatmstothisissueFloridalaw is
 consistent with federal mmitime tort law.''). Consequently, Defendant cnnnot be found
 negligently liable forthe comm ission ofthe sam e intentionaltortforwhich Defendantisstrictly

 liable. To hold otherwise in thisinstance would eviscerate any distinction between tortliability

premised on negligence and tortliability premised on intentionaltortiousactivity. Thus,Countl

 is improper to the extent that Count I attempts to state a negligence cause of action against

 Defendantforthe commission ofintentionaltorts,and istherefore dismissed with prejudice.
 Additionally,CountV ofPlaintifps Com plaintsim ilarly attemptsto state anegligence cause of

action againstDefendantforthe comm ission ofintentionaltorts,and fortheforegoing reasonsis

alsodismissedwithprejudice.
R,FalseImprisonm ent
             CountIV of Garcia's Com plaint alleges Defendantfalsely imprisoned her when crew

m embersforDefendantconfinedherto hercabin byplacing acrew memberimm ediately outside

ofhercabin doorand preventing herfrom othem ise leaving hercabin untilthe following day.

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 Falseimprisonmentin Florida is defined asçççtlle unlawfulrestraintofa person againsthiswill,

 the gistof which action is the tmlawfuldetention of the plaintiff and the deprivation of his

 liberty.'''Johnson v.Barnes& NobleBooksellers.lnc.,437 F.3d 1112,1116 (11+ Cir.2006)
 (quotingEscsmbiaCnty.Sch.Bd.v.Bragg,680 So.2d 571,572(Fla.1stDist.Ct.App.1996)).
 ççln afalseim prisonmentaction theplaintiffisrequired only to lestablish im prisonmentcontrary

 to hiswilland theunlawfulnessofthedetention.'''Id.(quoting Riversv.DillardsDep'tStore.
 Inc.,698So.2d 1328,1331(Fla.1stDist.Ct.App.1997).
        Defendantdoesnotdeny thatGarciawasconfned to herroom on the nightin question,

 butarguesthatGarciafailsto allegein herCom plainthow the confnementwasçtunlaw ful.'' To

 supplementitsargtlm ent,Defendantattachesto itsM otion a copy ofDefendant'sticketcontract

 with allpassengers,which providesin relevantpart:

        CnrnivalandtheMastereachreservestherighttorefusepmssaje,disembarkor
        confineto a stateroom any Guestwhosephysicalorm entalcondltion,orbehavior
        would beconsidered in the soleopinion oftheCaptain and/orthe ship'sphysician
        to constitute a risk to the Guest's own well-being or that ofany otherGuestor
        crew m em ber.

 Def.'sM ot.to Dismiss,Ex.A.,at5 (ECF No.13-1). Defendantthusargues- in addition to
 Garcia'sfailm etoplead any factssupportingtheallegation thatherconfinementwasunlawful-

thatGarcia'spanic attack made the confinementexpressly lawful. Garcia disputesthis Court's

 ability to considerDefendant's exhibitby arguing thatitis outside ofthe tlçfotlrcorners ofthe

 com plaint.'''

        Garcia is correctthata districtcourtcnnnotgenerally consider extrinsic evidence atthe
m otion to dism iss stage ofthe proceedings. See Soeaker v.U .S.Deot.of Hea1th and Human

 ServicesforDiseaseControland Prevention,623F.3d 1371,1379 (11th Cir.2010)(quotingSt.
 GeorMe v.Pinellas Cnty.,285 F.3d 1334, 1337 (11th Cir.2002)). There is,however,an
exception. ûçtln ruling upon a m otion to dism iss,the districtcourtmay consider an extrinsic

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 documentifitis(1)centralto theplaintiffsclaim,and (2)itsauthenticity isnotchallenged.'''
 Id.(quoting SFM Holdings.Ltd.v.BancofAm.Secs..LLC,600 F.3d 1334,1337 (11th Cir.
 2010:.Here,Garciaspecifically referencestheticketcontractwithDefendantinherComplaint.
 Compl.,at2.M ore importantly,the contractualprovision atissue iscentralto Garcia'sclaim of

 False Imprisonm ent because it addresses the determinative issue of whether Defendant's

 consnem ent of Garcia was isunlawful.'' Therefore, because Garcia hms not disputed the

 authenticity ofthe ticket contract,this Courtconsiders the contractin its analysis of Garcia's

 False Im prisonm entclaim .

        A review ofGarcia's Com plaintreveals the following factualallegations in supportof

 herclaim ofFalse Im prisonment:

        43.Onorabouttheabovereferenceddate,Defendantand/oritsajents,servants,
        and/or employees intentionally and tmlawfully restrained Garcla against her
        will/consentand then confined Garcia againstherwill/consentinhercabin.

        44.Garciawmsawareoftherestraintand confinementin hercabin.

        45.Garcia was physically restrained by seven (7) crew members,placed in
        handcuffsand dragged to hercabin.A guard wasstationed outsideGarcia'scabin
        allnightto preventherfrom leavinghercabin.

 Compl.,at8. Garcia's Com plaintdoes notallege any facts that would indicate Defendant's

 confinementofherviolated any constimtional,statutory,orcomm on law right,orwmsotherwise

 Gttmlawful.'' Furtherm ore,the Com plaintis devoid ofany factualallegations thatwould allow

 this Courtto çGinfer m ore than the m ere possibility''that Defendant's confinement of Garcia

 violated any provisions ofthe ticketcontractorany other contractllnlright. Consequently,the

 Complaintdoes notcontain enough facts to indicate the presence ofthe required elements for

 FalseImprisonment,and CountIV isdismissedwithoutprejudice.
 f.alntentionalIntlictionofEmotionalDistress
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        Count VI of Garcia's Complaint is for Intentional Intliction of Em otional Distress

 (çtIIED''). A claim forIIED consistsofthe following elements: çç(1)the wrongdoer'sconduct
 vvas intentionalorreckless;... (2)the conductwasoutrageous;thatis,asto go beyond all

 bounds of decency and to be regarded as atrocious and utterly intolerable in a civilized

 community; (3) the conduct caused emotional distress; and (4) the emotionaldistress was
 severe.'' W illinmsv.CitvofMinneola,619 So.2d 983,926 (F1a.5th Dist.Ct.App.1993);see
 alsoHartv.U.S.,894F.2d 1539,1548(11thCir.1990)(citingM etro.LifeIns.Co.v.Mccarson,
 467So.2d 277,278 (Fla.1985:. W hetherconductissufficiently çtoutrageous''to stateaclaim
 for IIED is a question of law for the Court to decide. See M edina v.United Christian

 Evaxmelistic Ass'n,No.08-22111-CV-Cooke,2009 U.S.Dist.Lexis 19515,at#12 (S.D.Fla.
 M ar.9,2009))Pontonv.Scarfone,468So.2d 1009,1011(Fla.4t11Dist.Ct.App.1985).
        Defendant argues that the conduct Garcia alleges is not suftk iently çtoutrageous''to

 sustain a claim for IIED. ttW hile there is no exhaustive or concrete list of whatconstitutes

 oukageous conduct,Florida comm on 1aw has evolved an extrem ely high standard.M errick v.

 RadissonHotelslnflslnc.,06-cv-01591-T-24TGW (SCB),2007 W L 1576361,at*4 (M .D.Fla.
 M ay 30,2007))see also M ccarson,467 So.2d at278-79 Cçlthasnotbeen enough thatthe
 defendanthas acted with an intentwhich istortiousoreven criminal,orthathe hasintended to

 intlict em otionaldistress,or even that his conduct has been characterized by tm alice,'or a

 degree of aggravation which would entitle the plaintiff to ptmitive dnm ages for another tort.

 Liability hms been found only where the conducthas been so outrageous in chr acter,and so

 exkeme in degree,as to go beyond al1 possible bounds of decency, and to be regarded as

 atrocious,and utterly intolerable in a civilized comm unity.Generally,the case isone in which

 the recitation ofthe factsto an average mem berofthe com munity would arouse hisresentment

 againsttheactor,andleadhim to exclaim,çoutrageous!'''). TakingGarcia'sallegationsastrue,
                                              7
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 Garcia has stated a claim for assault and battery against Defendant. Nothing contained in

 Garcia'sComplaintisGEso outrageousin character,and so extreme in degree,asto go beyond all

 possiblebotm dsofdtcency,and to be regarded as atrocious,and utterly intolerablein acivilized

 commlmity.'' M ccarson,467 So.2d at278-79. Thus,thisCourtholdsthatthe conductGarcia

 allegesdoesnotconstitutetheSçoutrageous''conductnecessaryto sustain a claim forIIED .

 IV.CONCLUSION

          Forthe foregoing reasons,it is

          ORDERED AND ADJUDGED thatDefendant's M otion to Dismiss (ECF No.13)is
 GRANTED IN PART. Counts 1,V,and Vl of Plaintiffs Complaint are DISM ISSED W ITH

 PREJUDICE. Count IV of Plaintiffs Complaint is DISM ISSED W ITHOUT PREJUDICE.

 Plaintiffhasleave to file an Amended Complaintwithin ten (10)daysfrom the date ofthis
 Order.

          DONEANDORDEREDinChambersatMiami,Florida,thisRIdayofMarch,2012.


                                                  K .M ICHA EL M OO RE
                                                  UNITED STATES DISTRICT JUDGE

 cc:   A1lcounselofrecord




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